     Case 8:23-cv-00855-JWH-KES Document 3 Filed 05/16/23 Page 1 of 7 Page ID #:42




1    DANIEL S. LIM (Cal. Bar No. 292406)
     Email: limda@sec.gov
2    CHRISTOPHER A. NOWLIN (Cal. Bar No. 268030)
     Email: nowlinc@sec.gov
3                                                                           May 16, 2023
                                                                 May 16, 2023
                                                                    DVE




     Attorneys for Plaintiff
4    Securities and Exchange Commission                                         DVE

     Michele Wein Layne, Regional Director
5    Katharine E. Zoladz, Associate Regional Director
     Gary Y. Leung, Regional Trial Counsel
6    444 S. Flower Street, Suite 900
     Los Angeles, California 90071
7    Telephone: (323) 965-3998
     Facsimile: (213) 443-1904
8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                                     Southern Division
11
12     SECURITIES AND EXCHANGE                          Case No.8:23-cv-00855-JWH (KESx)
       COMMISSION,
13                                                      PLAINTIFF SECURITIES AND
                   Plaintiff,                           EXCHANGE COMMISSION’S
14                                                      EX PARTE APPLICATION FOR
             vs.                                        A TEMPORARY RESTRAINING
15                                                      ORDER AND ORDERS:
       INTEGRATED NATIONAL RESOURCES,                   (1) FREEZING ASSETS;
16     INC. dba WEEDGENICS, ROLF MAX                    (2) APPOINTING A
       HIRSCHMANN aka “MAX BERGMANN,”                   TEMPORARY RECEIVER;
17     PATRICK EARL WILLIAMS,                           (3) REQUIRING
                                                        ACCOUNTINGS;
18                 Defendants, and                      (4) PROHIBITING THE
                                                        DESTRUCTION OF
19     WEST COAST DEVELOPMENT LLC,                      DOCUMENTS; AND
       INR CONSULTING LLC (WYOMING                      (5) GRANTING EXPEDITED
20     ENTITY), OCEANS 19 INC., AUTOBAHN                DISCOVERY; AND ORDER TO
       PERFORMANCE LLC, ONE CLICK                       SHOW CAUSE WHY A
21     GENERAL MEDIA INC., OPUS                         PRELIMINARY INJUNCTION
       COLLECTIVE, JOHN ERIC FRANCOM,                   SHOULD NOT BE GRANTED
22     INR-CA INVESTMENT HOLDINGS, LLC,                 AND A PERMANENT
       MICHAEL DELGADO, TOTAL                           RECEIVER SHOULD NOT BE
23     SOLUTION CONSTRUCTION LLC,                       APPOINTED
       BAGPIPE HOLDINGS LLC, BAGPIPE
24     MULTIMEDIA LLC, TYLER CAMPBELL,                  (FILED UNDER SEAL)
       INR CONSULTING LLC (CALIFORNIA
25     ENTITY), HIDDEN SPRINGS HOLDINGS
       GROUP LLC, and ALEXANDRIA
26     PORTER BOVEE aka “AIA
       MONTGOMERY,”
27
                   Relief Defendants.
28
     Case 8:23-cv-00855-JWH-KES Document 3 Filed 05/16/23 Page 2 of 7 Page ID #:43




1          Under Rule 65(b) of the Federal Rules of Civil Procedure, Plaintiff Securities
2    and Exchange Commission (“SEC”) respectfully requests, ex parte and without
3    notice, that the Court issue a temporary restraining order (the “TRO Application”) to
4    stop the ongoing fraudulent scheme perpetrated by Defendants Integrated National
5    Resources, Inc. dba WeedGenics (“INR”), Rolf Max Hirschmann, aka “Max
6    Bergmann,” and Patrick Earl Williams (collectively “Defendants”) and for orders
7    against Defendants and Relief Defendants West Coast Development LLC (“WCD”),
8    INR Consulting LLC (Wyoming Entity) (“INR Consulting/Williams”), Oceans 19
9    Inc. (“Oceans 19”), Autobahn Performance LLC (“Autobahn”), One Click General
10   Media Inc. (“One Click”), Opus Collective (“Opus”), John Eric Francom
11   (“Francom”), INR-CA Investment Holdings, LLC (“INR-CA”), Michael Delgado
12   (“Delgado”), Total Solution Construction LLC (“Total Solution”), Bagpipe Holdings
13   LLC (“Bagpipe Holdings”), Bagpipe Multimedia LLC (“Bagpipe Multimedia”),
14   Tyler Campbell (“Campbell”), INR Consulting LLC (California Entity) (“INR
15   Consulting/Campbell”), Hidden Springs Holdings Group LLC (“Hidden Springs”),
16   and Alexandria Porter Bovee, also known as “Aia Montgomery” (“Bovee”)
17   (collectively “Relief Defendants”) freezing assets, requiring accountings, prohibiting
18   the destruction of documents and granting expedited discovery. The SEC’s TRO
19   Application also asks the Court, among other things, to appoint a temporary receiver,
20   to freeze the Defendants’ assets in order to preserve the status quo pending a
21   preliminary injunction hearing, to prohibit the destruction of documents, and to grant
22   the parties expedited discovery in advance of a preliminary injunction hearing.
23         The SEC’s TRO Application is based on the SEC’s complaint, as well as its
24   accompanying Memorandum of Points and Authorities, its supporting declarations
25   and exhibits, and any such other evidence and argument as the Court may receive and
26   permit.
27         Counsel for the SEC has not advised the Defendants or their counsel of the
28   date, time or substance of its TRO Application.

                                                   1
     Case 8:23-cv-00855-JWH-KES Document 3 Filed 05/16/23 Page 3 of 7 Page ID #:44




1          A.     Basis for Waiver of Notice under Rule 65(b)
2          The SEC requests that the Court relieve the SEC of its obligation to notify the
3    Defendants of its TRO Application. The waiver of notice is appropriate under Rule
4    65(b) of the Federal Rules of Civil Procedure and Local Rule 7-19.2 because specific
5    facts show that “immediate and irreparable injury, loss, or damage will result” if the
6    Defendants are notified of the SEC’s TRO Application before it is heard. FED. R.
7    CIV. P. 65(b); L.R. 7-19.2.
8          This is true because the Defendants’ fraudulent scheme is ongoing. As set
9    forth in more detail in the SEC’s supporting papers, this case concerns a fraudulent
10   and ongoing stock offering by Defendant INR and its principals, Defendants
11   Williams and Bergmann. From around June 2019 to the present, Defendants raised
12   more than $61.7 million from investors by means of a dissembled story of past
13   success and future growth in the cannabis business. They told investors that since
14   2017, INR had generated tens of millions of dollars in annual operating revenue year-
15   over-year from INR’s established cultivation operation in Las Vegas. They told
16   investors that their funds would be used to expand INR’s business by developing a
17   new Adelanto, California grow facility which, once up and running, would boost
18   INR’s revenues by more than $38 million annually. And they told investors that this
19   sustained history of profitable operations in Nevada, in tandem with INR’s plans for
20   expansion into California, presented an investment opportunity they could not miss.
21   According to defendants, an investment in INR was stable and the outsized returns
22   INR promised – up to 36% per annum, with a full return of investor principal at the
23   end of a five-year term – were all but guaranteed. All of this was a lie.
24         Marijuana is a highly-regulated business. State and municipal permits are
25   required to legally operate a cannabis cultivation facility, yet California, Nevada, and
26   City of Adelanto permitting authorities have no record of INR lawfully operating
27   within their jurisdictions. If that were not enough, a forensic analysis of the INR
28   operating accounts that received over-$60 million in investor funds confirms the

                                                   2
     Case 8:23-cv-00855-JWH-KES Document 3 Filed 05/16/23 Page 4 of 7 Page ID #:45




1    fabulist quality of defendants’ representations. That analysis found no indicia of
2    operational activity consistent with what INR claimed to defrauded investors. Rather,
3    the more than 20,000 fund transfers examined show: no meaningful operational
4    revenue or legitimately incurred expenses; that nearly all funds received by the
5    corporate INR accounts are comprised of investor funds; and the vast majority of
6    those funds were dissipated by defendants to (i) make Ponzi-like payments and/or (i)
7    to enrich themselves at the expense of defrauded INR investors. For their part, the
8    relief defendants in this case collectively received tens of millions of dollars of
9    investor funds, and defendants and relief defendants all transferred or shuffled
10   substantial sums of investor money between a tangled web of financial accounts
11   under their control, as shown below:
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26         If the Defendants are given notice of the TRO Application, they will continue

27   their fraudulent scheme and will continue to dissipate and misuse funds from new and

28   existing investors, thus placing the stolen funds beyond the reach of the Court. The

                                                    3
     Case 8:23-cv-00855-JWH-KES Document 3 Filed 05/16/23 Page 5 of 7 Page ID #:46




1    danger of asset dissipation and continuing unlawful conduct are each independently
2    accepted bases for granting a temporary restraining order without notice under Rule
3    65(b). See, e.g., SEC v. Horwitz, No. 21-cv-02927-CAS-PD at Dkt. No. 18 (C.D.
4    Cal. Apr. 6, 2021); SEC v. King, No. 20-cv-02398-JVS-DFM at Dkt. No. 12 (C.D.
5    Cal. Dec. 28, 2020); SEC v. Schooler, No. 12–CV–2164–LAB–JMA2012 WL
6    4049956, at *2 (S.D. Cal. Sept. 13, 2012); 3BA Int’l LLC v. Lubahn, No. C10–
7    829RAJ, 2010 WL 2105129, at *5 (W.D. Wash. May 20, 2010). The Court’s
8    immediate intervention would help prevent continuing violations of the federal
9    securities laws and preserve the status quo to stop the Defendants’ further dissipation
10   of investor funds. See Granny Goose Foods, Inc. v. Brotherhood of Teamsters &
11   Auto Truck Drivers, 415 U.S. 423, 439 (1974) (purpose of temporary restraining
12   order is “preserving the status quo and preventing irreparable harm just so long as is
13   necessary to hold a [preliminary injunction] hearing, and no longer”).
14         Finally, there are signs that defendants’ securities offering fraud is spiraling
15   towards a disastrous end. Last fall, in September 2022, Relief Defendant Bovee –
16   who identified herself as “Aia Montgomery” – began to contact INR investors on the
17   company’s behalf to ask them to voluntarily restructure their investments. “Aia
18   Montgomery” offered two options to INR investors: (1) convert their INR
19   investments into “preferred stock equity” for which they would no longer receive
20   monthly interest payments; or (2) agree to a withdrawal arrangement with INR. As
21   for this “withdrawal arrangement,” INR has refused to repay investor principal
22   immediately, instead offering only gradual repayment over a course of years.
23         In spite of all this, INR’s website continues to be publicly available online, and
24   it still invites the public to contact INR about investing. Press releases issued by INR
25   in January 2023 –titled “Integrated National Resources inc. Continues WeedGenics
26   Expansions In 2023” – claim “yet another successful year of growth and increasing
27   profitability” and tout continuing expansion for “this industry-leading corporation.”
28   In February and March 2023 alone, the company raised roughly $5.8 million from

                                                    4
     Case 8:23-cv-00855-JWH-KES Document 3 Filed 05/16/23 Page 6 of 7 Page ID #:47




1    investors. While investor funds raised dipped to about $205,000 in April, INR took
2    on new investment as recently as April 18 (the last day reflected in monthly account
3    statements produced to the SEC). Given defendants’ rampant fraud to date, every
4    additional dollar invested by an unsuspecting INR victim risks an unredressable
5    harm.
6            B.    Request to File the TRO Application under Seal
7            Because its TRO Application is made without notice, the SEC has concurrently
8    filed a separate ex parte application that the Court seal the TRO Application and the
9    supporting documents. The requested sealing order is of limited duration—the SEC
10   asks only that the documents be sealed until two business days after the Court issues
11   its decision. The SEC makes this request to ensure that its TRO Application is not
12   publicly posted on PACER before the Court issues its ruling. If the papers are not
13   filed under seal, posting them on PACER would make the TRO Application and
14   supporting papers publicly available, defeating the purpose of filing the TRO
15   Application without notice. If the Defendants and Relief Defendants receive notice
16   of the matter before the Court issues its ruling, they may move, dissipate, or conceal
17   assets before the requested asset freeze is put in place.
18           C.    Relief Requested
19           Because of the ongoing nature of the fraudulent scheme and the danger that
20   Defendants and Relief Defendants will dissipate investor funds, the SEC seeks to
21   temporarily enjoin Defendants from violating the antifraud provisions of the
22   securities laws, and from continuing to raise investor capital through unregistered
23   securities offerings. The SEC seeks to freeze the assets of the Defendants and their
24   subsidiaries and affiliates, the assets of the Relief Defendants, and all other assets
25   traceable to INR’s offering fraud. The SEC requests that the Court appoint a receiver
26   over the entity Defendants and Relief Defendants, and their subsidiaries and
27   affiliates, including but not limited to: Defendant Integrated National Resources, Inc.
28   dba WeedGenics, and Relief Defendants West Coast, INR Consulting/Williams,

                                                    5
     Case 8:23-cv-00855-JWH-KES Document 3 Filed 05/16/23 Page 7 of 7 Page ID #:48




1    Oceans 19, Autobahn, One Click, Opus, INR-CA, Total Solution, Bagpipe Holdings,
2    Bagpipe Multimedia, INR Consulting/Campbell, and Hidden Springs. The SEC
3    requests an order prohibiting the destruction of documents, allowing expedited
4    discovery, requiring Defendants and Relief Defendants to provide accountings.
5          Finally, the SEC requests an order to show cause why a preliminary injunction
6    should not be granted and a permanent receiver not be appointed.
7          D.    Local Rule 7-19 Disclosure
8          It is not known whether Defendants and Relief Defendants are represented by
9    counsel.
10
11   Dated: May 16, 2023                         Respectfully submitted,

12                                               /s/ Daniel S. Lim
13                                               DANIEL S. LIM
                                                 CHRISTOPHER A. NOWLIN
14                                               GARY Y. LEUNG
15                                               Attorney for Plaintiff
                                                 Securities and Exchange Commission
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 6
